Case 2:04-cr-20177-.]DB Document 105 Filed 08/30/05 Page 1 of 2

UN|TED STATES OF AMER|CA,

VS.

LARRY BULLOCK,

IN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE

Plaintiff,

Defendant.

WESTERN D|VlSlON

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Cr. No.: 04-20177-B

 

ORDER

 

This matter, Motion to Continue Sentencing Hearing, was brought to this Court by

the United States on behalf of the Parties. The Parties request that defendant’s, Larry

Bu|lock, sentencing hearing be continued for 30 days or rescheduled to October18, 2005,

when the related case, United States v. Gera|d Ravborn, sentencing hearing will be held.

The Parties believe that this continuance would allow the Parties to resolve pending pre-

sentencing issues. Thus, after fully considering this matter, and for good cause shownl

lT |S ORDERED that the sentencing hearing for Defendant Larry Bullock be

rescheduled for 160ij / 3

Entered this'§gi`\day_&%-J" of

Appr v by:

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J. D NIEL BREEN

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Unit States District Judge

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UNITED STEATS DlSTRIC COURT - WESTERN DISITRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:04-CR-20177 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

